Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 1 of 30            FILED
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Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 2 of 30
Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 3 of 30
Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 4 of 30
Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 5 of 30
Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 6 of 30
Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 7 of 30
Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 8 of 30
Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 9 of 30
Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 10 of 30
Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 11 of 30
Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 12 of 30
Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 13 of 30




                  Attachment 1: Curriculum Vitae
     Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 14 of 30




                                                                                         August 2020

                                         Curriculum Vitae

                                    DANIEL L. RUBINFELD


PRESENT POSITIONS:

     Robert L. Bridges Professor of Law, Professor of Economics, Emeritus
     University of California, Berkeley, Room 453,
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     Phone: (510) 642-1959
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     Professor, NYU Law School, Fall Semester, 427 Vanderbilt Hall
     40 Washington Square West, New York, NY 10012, Phone: (212) 992 8834
     drubinfeld@nyu.edu, Fax: (212) 995-4590
     Current teaching (2017): Antitrust Law & Economics, Quantitative Methods in Law
             (with Katherine Forrest)


ACADEMIC STUDIES:           Princeton, Mathematics, B.A., June 1967
                            M.I.T., Economics, M.S., September 1968
                            M.I.T., Economics, Ph.D., June 1972


TEACHING EXPERIENCE:

     Suffolk University, Boston, Massachusetts
             Full-time Economics Instructor, 1968-70
     Wellesley College, Wellesley, Massachusetts
             Full-time Economics Instructor, 1970-71
     University of Michigan, Ann Arbor, Michigan
             Assistant Professor of Economics, 1972-77
             Associate Professor of Economics and Law, 1977-82
             Professor of Economics and Law, 1982-83
             Research Associate, Institute of Public Policy Studies, 1972-82
     University of California, Berkeley, 1983 - present
             Robert L. Bridges Professor of Law and Professor of Economics, 1983-Present
     Stanford University
             Visiting Professor of Law, Spring 1989 (Economics and Public Policy)
     University of Geneva
             Visiting Professor, May 1991 (Antitrust Law and Economics)
     Swiss National Bank, Studienzentrum Gerzensee (one week for each visit)
             Visiting Professor of Law and Economics, Spring 1995-97 (Economics of Private Law), 2002
             (Political Economy of Federalism), 2004, 2007 (Competition Law and Economics), 2009,
             2011 (Competition Law and Economics)
     New York University



                                             - Page 1 -
    Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 15 of 30




             Visiting Professor, Professor of Law, Spring 1999, Fall 2000, 2003, 2005-2006, 2008-2012
             (Quantitative Methods in Law, Antitrust Law and Economics)
     University of Virginia
             Visiting Professor of Law, January 2004 (Antitrust Law and Economics)
     University of Hamburg
             Visiting Professor of Law, May 1999, 2002 (Quantitative Methods), June, 2008 (Antitrust
             Law and Economics)
     University of Bergen
             Visiting Professor of Law, August 2006, August 2007, August 2008, August 2010 (Antitrust
             Law and Economics)
     Catholic University of Portugal, Lisbon
             Visiting Professor of Law, April 2009, April 2010 (Antitrust Law and Economics)
     Kiev School of Economics
             Visiting Professor, April 2010


GOVERNMENT POSITIONS

     Economist, Staff of President's Council of Economic Advisers, Summer, 1969
     Deputy Assistant Attorney General, Antitrust Division, U.S. Department of Justice, June 1997-Dec
            1998

GOVERNMENT CONSULTING

     Member, Ann Arbor Rent Control Study Commission, 1973
     Consultant, Urban Institute, 1973
     Consultant, U.S. Treasury, Program in State and Local Finance, 1984-85
     Consultant, National Academy of Sciences, Panel on Taxpayer Compliance, 1985-86
     Consultant, U.S. Consumer Product Safety Commission, Safety of
             All-Terrain Vehicles, 1987-88
     Consultant and Lecturer, Federal Judicial Center, 1993-present, Use of Statistical
             Analysis by the Courts
     Consultant, World Bank (South Africa Mission), 1995-1997
     Consultant, Antitrust Division, 1999, U.S. v. Microsoft
     Consultant, Competition Directorate, European Union, 2003-2004, Merger Simulation
     Lecturer, Federal Trade Commission, June-July, 2003, Antitrust Economics
     Consultant, Federal Trade Commission, Antitrust Division, Dept. of Justice, various State Attorneys
             General


OTHER POSITIONS HELD:

     Research Assistant, William G. Bowen, 1966-67
     Research Assistant, Paul A. Samuelson, 1971
     Consultant, M.I.T.- Harvard, Joint Center for Urban Studies, Spring and Summer, 1972
     Consultant, Urban Institute, 1973
     Consultant, National Academy of Sciences, Committee on the Costs of Automobile
            Emission Control, Summer 1974
     Consultant, National Academy of Sciences, Panel on Statistical Assessments as
            Evidence in the Courts, 1984
     Consultant, National Academy of Sciences, Panel on Taxpayer Compliance, 1985-86


                                               - Page 2 -
      Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 16 of 30




       Chair, Program in Law and Economics, UC Berkeley, 1986-97, Co-Chair, 2000-
       Member, National Academy of Sciences, Working Panel on Field Experimentation in Criminal
               Justice, 1986-87
       Chair, Program in Jurisprudence and Social Policy, U.C. Berkeley, 1987-1990, 1998-1999
       Member, Board of Directors, American Law and Economics Association, 1994-1996, 2001-2003
       Secretary-Treasurer, American Law and Economics Association, 2003-2004
       Vice President, American Law and Economics Association, 2004-2005
       President, American Law and Economics Association, 2005-2006
       Vice Chair, ABA Section on Antitrust, Committee on Economics, 1997-1999
       Member, National Academy of Sciences, NSF Blue Ribbon Commission on Digital Preservation,
               2007-2010


ACTIVITIES AND HONORS:
     Princeton University, 1967, Magna Cum Laude, Phi Beta Kappa
     Woodrow Wilson Fellow, 1967
     National Science Foundation Fellowship, 1968-69
     National Science Foundation Dissertation Fellowship, 1971-72
     Winner, National Tax Association, Outstanding Doctoral Dissertation Award, 1972
     Research Fellow, National Bureau of Economic Research, Cambridge, Massachusetts, 1975-76
     Editorial Board, Public Finance Quarterly, 1980-2003
     Editorial Board, Law and Society Review, 1982-1985, 1989-1999
     Advisory Panel, NSF, Program in Law and Social Science, 1982-84
     Editorial Board, Evaluation Review, 1985-1987
     Faculty Advisory Board, U.C. Berkeley, Center for Real Estate and Urban Economics, 1983-97,
             2000-
     Co-Editor, International Review of Law and Economics, 1987-2003
     Lecturer, California Continuing Judicial Studies Program, 1988-1989
     Oversight Panel, NSF Program in Law & Social Science, 1988
     Board of Directors, LECG, 1995-1997
     Board of Directors, Atlas Assets, Inc., 1989-1997, 1999-2008
     Member, Correspondent Comm., Interuniversity Consortium for Political & Social Research, 1991-
     Editorial Board, Law and Social Inquiry, 1992-1999, 2002-2004
     Fellow, Center for Advanced Study in the Behavioral Sciences, 1992-93
     Ida Beam Distinguished Lecturer in Law and Economics, University of Iowa, Spring 1995
     John Simon Guggenheim Fellowship, 1995
     Faculty Advisory Board, UC Berkeley, Burch Ctr. for Tax Policy & Public Finance, 1994-97, 1999-
     Elected to American Academy of Arts and Sciences, 2001
     Advisory Council, Master Program on Law & Economics, Universidad de Buenos Aires, 2003-
     Research Associate, Law School, Australian National University, 2003-
     Editorial Board, Journal of Australian Economic Education, 2003-
     Editorial Board, The Review of Law and Economics, 2004-
     Fellow, National Bureau of Economic Research, 2004-
     Member, International Academic Council, U. of St. Gallen, Masters in Law & Economics, 2005-
     Honorary Doctorate, U. of Basel, November 2008.
     Co-Editor, Journal of Legal Analysis, 2008-2015, Editorial Board, 2015-
     Concurrence, 2015: Antitrust Writing Awards: Dominance Category (with Jim Ratliff)
     Editorial Board, Asia-Pacific Journal of Regional Science, 2016-2021
     Concurrence, 2017 Antitrust Writing Awards: Unilateral Conduct Category (with Michal Gal)
     American Antitrust Institute: Jerry S. Cohen Memorial Fund Writing Award, 2017 –
             Best Antitrust and Platform Markets Article (with Michal Gal)


                                              - Page 3 -
        Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 17 of 30




        Recent Keynote Lectures:
               Asian Law and Economics Association, Bangkok, (Antitrust and Big Data), Fall, 2018,
               French Law and Economics Association, Nancy, France (Data Standardization
                      Spring, 2018.
               OECD (Common ownership), Spring, 2018

PUBLICATIONS:

Books

1.      STATISTICAL ANALYSIS OF ECONOMIC AND FINANCIAL DATA, Dynamics Associates,
        Cambridge, 1971, Revised Edition, 1974.

2.      ECONOMETRIC MODELS AND ECONOMIC FORECASTS (with Robert S. Pindyck), McGraw-
        Hill, January 1976. Second Edition, 1981, Spanish, Japanese, and Chinese versions available; Third
        Edition, 1990; Fourth Edition, 1998.

3.      ESSAYS ON THE LAW AND ECONOMICS OF LOCAL GOVERNMENTS (Editor), COUPE
        Papers on Public Economics, Urban Institute, December 1979.

4.      AMERICAN DOMESTIC PRIORITIES: AN ECONOMIC APPRAISAL (Co-editor with John M.
        Quigley), University of California Press, 1985.

5.      MICROECONOMICS (with Robert S. Pindyck), MacMillan, 1989, Second Edition, 1992, Italian,
        Spanish, and Russian editions, Third Edition, 1995, Portuguese edition; Fourth edition, 1998,
        Japanese, Chinese editions; Fifth Edition, 2000, Uzbek, Indonesian, German, Korean editions, Sixth
        Edition, 2005, Seventh Edition, 2009, Croatian, French, Taiwanese, and Basque editions, Eighth
        Edition, 2013, Ninth Edition, 2018.

6.      DID MICROSOFT HARM CONSUMERS: TWO OPPOSING VIEWS (with David S. Evans,
        Franklin M. Fisher, and Richard L. Schmalensee), AEI-Brookings Joint Center for Regulatory
        Studies, 2000.

7.      ECONOMETRICS: LEGAL, PRACTICAL, AND TECHNICAL ISSUES (Co-editor with John
        Harkrider), ABA Antitrust Section, 2005.

8.      DEMOCRATIC FEDERALISM: THE ECONOMICS, POLITICS, AND LAW OF FEDERAL
        GOVERNANCE (with Robert Inman), Princeton University Press, 2020.


Journal Articles

1.      "Credit Ratings and the Market for General Obligation Municipal Bonds," National Tax Journal,
        March 1973, pp. 17-27.

2.      "The Determination of Equalized Valuation: A Massachusetts Case Study," Public Finance Quarterly,
        April 1975, pp. 153-161.

3.      "Voting in a Local School Election: A Micro Analysis," Review of Economics and Statistics,
        February 1977, pp. 30-42.



                                                 - Page 4 -
      Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 18 of 30




4.    "Suburban Employment and Zoning: A General Equilibrium Analysis," Journal of Regional Science,
      March 1978, pp. 33-44.

5.    "Hedonic Housing Prices and the Demand for Clean Air" (with David Harrison, Jr.), Journal of
      Environmental Economics and Management, March 1978, pp. 81-102, in Joseph Herriges and Cathy
      Kling, eds., REVEALED PREFERENCE APPROACHES TO ENVIRONMENTAL VALUATION:
      Volume II, Ashgate Publishing Limited, 2008.

6.    "The Long-Run Effects of a Residential Property Tax and Local Public Services" (with A. Mitchell
      Polinsky), Journal of Urban Economics, April 1978, pp. 24l-262, reprinted in John M Quigley, ed.,
      THE ECONOMICS OF HOUSING, Edward Elgar, 1997.

7.    "On the Measurement of Benefits in an Urban Context: Some General Equilibrium Issues" (with Paul
      N. Courant), Journal of Urban Economics, June 1978, pp. 346-356.

8.    "The Air Pollution and Property Value Debate: Some Empirical Evidence" (with David Harrison, Jr.),
      Review of Economics and Statistics, November 1978, pp. 635-638.

9.    "The Distribution of Benefits from Improvements in Urban Air Quality" (with David Harrison, Jr.),
      Journal of Environmental Economics and Management, December 1978, pp. 313-332.

10.   "Tax Limitation and the Demand for Public Services in Michigan" (with Paul N. Courant and Edward
      M. Gramlich), National Tax Journal, Supplement, June 1979, pp. 147-157.

11.   "Public Employee Market Power and the Level of Government Spending" (with Paul N. Courant and
      Edward M. Gramlich), American Economic Review, December 1979, pp. 806-817. Reprinted in W.
      Patrick Beaton (ed.) MUNICIPAL EXPENDITURES REVENUES AND SERVICES (New
      Brunswick: Rutgers University, 1983), pp. l80-202.

12.   "Why Voters Support Tax Limitation Amendments: The Michigan Case" (with Paul N. Courant and
      Edward M. Gramlich), National Tax Journal, March 1980, pp. l-20. Also in TAX AND
      EXPENDITURE LIMITATIONS (H. Ladd and N. Tideman, editors), COUPE Papers on Public
      Economics, Urban Institute, 198l, pp. 37-72.

13.   "On the Economics of Voter Turnout in Local School Elections," Public Choice, Fall 1980, pp. 315-
      331.

14.   "Why Voters Turn Out for Tax Limitation Votes" (with Edward M. Gramlich and Deborah Swift),
      National Tax Journal, March 1981, pp. 115-124.

15.   "On the Welfare Effects of Tax Limitation" (with Paul N. Courant), Journal of Public Economics,
      December 1981, pp. 289-316.

16.   "Multiple Regression with a Qualitative Dependent Variable," Journal of Economics and Business,
      January 1982, pp. 67-78.

17.   "Micro Estimates of Public Spending Demand Functions and Tests of the Tiebout and Median Voter
      Hypotheses" (with Edward M. Gramlich), Journal of Political Economy, June 1982, pp. 536-560.

18.   "The Dynamics of the Legal Process" (with Lawrence Blume), Journal of Legal Studies, June 1982,
      pp. 405-421.


                                               - Page 5 -
      Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 19 of 30




19.   "Voting on Public Spending: Differences between Public Employees, Transfer Recipients, and
      Private Workers" (with Edward M. Gramlich), Journal of Policy Analysis and Management, Summer
      1982, pp. 516-533. Reprinted in PROBLEMI DI AMMINISTRAZIONE PUBBLICA, No. 2/1983,
      pp. 55-88.

20.   "Micro-Based Estimates of Demand Functions for Local School Expenditures" (with Theodore C.
      Bergstrom and Perry Shapiro), Econometrica, November 1982, pp. 1183-1205.

21.   "The Distributional Impact of Statewide Property Tax Relief: The Michigan Case" (with Michael
      Wolkoff), Public Finance Quarterly, April 1983, pp. 131-153.

22.   "The Taking of Land: When Should Compensation Be Paid?" (with Lawrence Blume and Perry
      Shapiro), Quarterly Journal of Economics, February 1984, pp. 71-92.

23.   "On Determining the Optimal Magnitude and Length of Liability In Torts," Journal of Legal Studies,
      August 1984, pp. 551-563.

24.   "Budget Reform and the Theory of Federalism" (with John Quigley), American Economic Review,
      May 1986, pp. 132-137.

25.   "The Efficiency of Comparative Negligence," Journal of Legal Studies, June 1987, pp. 375-394.

26.   "Tax Reform: Implications for the State-Local Public Sector" (with Paul Courant), Journal of
      Economic Perspectives, Summer, 1987, pp. 87-100. Reprinted in Samuel Baker and Catherine Elliot
      (eds.) READINGS IN PUBLIC SECTOR ECONOMICS (Lexington, Massachusetts: D.C. Heath and
      Company, 1990) pp. 585-507.

27.   "Efficient Awards and Standards of Proof in Judicial Proceedings (with David Sappington), Rand
      Journal, Summer 1987, pp. 308-315.

28.   "Tiebout Bias and the Demand for Local Public Schooling" (with Perry Shapiro and Judith Roberts),
      Review of Economics and Statistics, August 1987, pp. 426-437.

29.   "The Welfare Implications of Costly Litigation for the Level of Liability" (with A. Mitchell
      Polinsky), Journal of Legal Studies, January 1988, pp. 151-164, in Alan O. Sykes (ed.) ECONOMICS
      OF TORT LAW, Elgar, 2007, and in Chris William Sanchirico (ed.), ECONOMICS OF EVIDENCE,
      PROCEDURE, AND LITIGATION, Elgar, 2007, Chapter 19.

30.   "A Test for Efficiency in the Supply of Public Education" (with Theodore Bergstrom, Perry Shapiro
      and Judith Roberts), Journal of Public Economics, April 1988, pp. 289-307.

31.   "Robbing Peter to Pay Peter: The Economics of Local Public Residency Requirements" (with Paul
      N. Courant), Journal of Urban Economics, May 1988, pp. 291-306.

32.   "The Deterrent Effect of Settlements and Trials" (with A. Mitchell Polinsky), International Review of
      Law and Economics, June 1988, pp. 109-117.

33.   "Micro-Estimation of the Demand for Schooling: Evidence from Michigan and Massachusetts" (with
      Perry Shapiro), Regional Science and Urban Economics, January 1989, pp. 381-398.



                                                - Page 6 -
      Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 20 of 30




34.   "Unobservables in Consumer Choice: Residential Energy and the Demand for Comfort" (with John
      Quigley), Review of Economics and Statistics, August 1989, pp. 416-425.

35.   "Economic Analysis of Legal Disputes and their Resolution" (with Robert Cooter), Journal of
      Economic Literature, September, 1989, pp. 1067-1097. Reprinted in Richard Posner and Francesco
      Parisi, eds., ECONOMIC FOUNDATIONS OF PRIVATE LAW, Edward Elgar Publishing, 2002,
      reprinted in Eric B. Rasmusen (ed.), GAME THEORY AND THE LAW, Edward Elgar Publishing,
      2008.

36.   "A Note on Optimal Public Enforcement with Settlements and Litigation Costs" (with A.M.
      Polinsky), Research in Law and Economics, 1989, pp. 1-8.

37.   "Trial Courts: An Economic Perspective" (with Robert D. Cooter), Law and Society Review, 1990,
      pp. 2501-2514.

38.   "A Model of Optimal Fines for Repeat Offenders" (with A. Mitchell Polinsky), Journal of Public
      Economics, September, 1991, pp. 291-306. Reprinted in Peder Andersen, Vibeke Jensen and Jorgen
      Birk Mortensen, eds., GOVERNANCE BY LEGAL AND ECONOMIC MEASURES, Copenhagen,
      G-E-C Gad Publishers, 1993, pp. 33-52.

39.   "Statistical and Demographic Issues Underlying Voting Rights Cases," Evaluation Review,
      December, 1991, pp. 659-672.

40.   "Private Guarantees for Municipal Bonds: Evidence from the Aftermarket" (with John M. Quigley),
      National Tax Journal, December 1991, pp. 29-39.

41.   "Fiscal Federalism in Europe: Lessons from the American Experience" (with Robert P. Inman),
      European Economic Review, 1992, pp. 654-660.

42.   "Evaluating the Injury Risk Associated with All-Terrain Vehicles: An Application of Bayes' Rule"
      (with Gregory B. Rodgers), Journal of Risk and Uncertainty, May 1992, pp. 145-158.

43.   "Contingent Fees for Attorneys: An Economic Analysis," (with Suzanne Scotchmer), Rand Journal,
      Autumn, 1993, pp. 343-356.

44.   "An Economic Model of Legal Discovery" (with Robert Cooter), Journal of Legal Studies, January,
      1994, pp. 435-463, reprinted in Chris William Sanchirico (ed.), ECONOMICS OF EVIDENCE,
      PROCEDURE, AND LITIGATION, Elgar, 2007, Chapter 14..

45.   "The EMU and Fiscal Policy in the New European Community: An Issue for Economic Federalism"
      (with Robert Inman), International Review of Law and Economics, June, 1994, pp. 147-161
      (Reprinted in ECONOMICS OF EUROPEAN LAW, Paul Stephan and Lewis Powell (eds.)).

46.   "Designing Tax Policy in Federalist Economies: An Overview," (with Robert P. Inman), Journal of
      Public Economics, 60, 1996, pp. 307-334. (Reprinted in ECONOMICS OF FEDERALISM, Bruce
      Kobayashi, Larry Ribstein, and Marie Corman, (eds.)).

47.   "Antitrust Settlements and Trial Outcomes," (with Jeffrey M. Perloff and Paul Ruud), Review of
      Economics and Statistics, 1996, pp. 401-409.

48.   "Optimal Awards and Penalties when the Probability of Prevailing Varies Among Plaintiffs," (with A.


                                               - Page 7 -
      Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 21 of 30




      Mitchell Polinsky), Rand Journal, 27, 1996, pp. 269-280.

49.   "Federalism and Reductions in the Federal Budget," (with John M. Quigley), National Tax Journal,
      49, 1996, pp. 289-302.

50.   "Rethinking Federalism," (with Robert P. Inman), Journal of Economic Perspectives, 11 (Fall 1997),
      pp. 43-64, reprinted in John Kincaid ed., HISTORICAL AND THEORETICAL FOUNDATIONS OF
      FEDERALISM, Sage, 2001.

51.   "Does the English Rule Discourage Low-Probability-of-Prevailing Plaintiffs?" (with A. Mitchell
      Polinsky), Journal of Legal Studies, June 1998, pp. 519-534.

52.   “Antitrust Enforcement in Dynamic Network Industries,” The Antitrust Bulletin, Fall-Winter 1998,
      pp. 859-882. (Translated as “Wettbewerb, Innovation und die Durchsetzung des Kartellrechts in
      dynamischen, vernetzeten Industrien,” in GRUR International Gewerblicher Rechtsschutz und
      Urheberrecht Internationaler Teil, Heft 6, 1999).

53.   “Empirical Methods in Antitrust: Review and Evidence,” (with Jonathan B. Baker), American Law
      and Economics Review, Fall 1999, pp. 386-435.

54.   "The Primestar Acquisition of the News Corp./MCI Direct Broadcast Satellite Assets,” Review of
      Industrial Organization, Vol. 16, No. 2, March, 2000, pp. 191-209.

55.   “Market Definition with Differentiated Products: The Post-Nabisco Cereal Merger,” Antitrust Law
      Journal, Vol. 68, No. 1, 2000, pp. 163-185. (Reprinted in GLOBAL COMPETITION POLICY:
      ECONOMICS ISSUES AND IMPACTS, David S. Evans and A. Jorge Padilla, eds., LECG, 2004;
      also available in Peking University, International and Comparative Law Review, Vol.5:8, July 2007,
      pp. 94-111.)

56.   “Structuring Intergovernmental Grants to Local Governments: Lessons from South Africa,”
      Constitutional Political Economy, Vol. 12, 2001, pp. 173-187.

57.   “Can We Decentralize Our Unemployment Policies? Evidence from the United States" (with Robert
      Inman), Kyklos, March 2001, Vol. 54, pp. 287-308.

58.   “U.S. v. Microsoft - An Economic Analysis” (with Franklin M. Fisher), The Antitrust Bulletin,
      Spring, 2001, pp. 1-69.

59.   “Vertical Foreclosure in Broadband Access” (with Hal J. Singer) Journal of Industrial Economics,
      September, 2001, Vol. 49, pp. 299-318.

60.   “Merger Simulation: A Simplified Approach with New Applications” (with Roy Epstein), Antitrust
      Law Journal, Volume 69, No. 3, December 2001, pp. 883-919, reprinted in Stefan Vogt, Max Albert,
      and Dieter Schmidtchen (eds.), THE MORE ECONOMIC APPROACH TO EUROPEAN
      COMPETITION LAW, (Conferences on the New Political Economy), Tubingen, 2007.

61.   “A Note on Settlements under the Contingent Fee Method of Compensating Lawyers” (with A.
      Mitchell Polinsky), International Review of Law and Economics, Volume 22, No. 2, September 2002,
      pp. 217-225.

62.   “Aligning the Interests of Lawyers and Clients” (with A. Mitchell Polinsky), American Law and


                                               - Page 8 -
      Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 22 of 30




      Economics Review, Volume 5, No. 1, Spring, 2003, pp. 165-188.

63.   “Merger Simulation with Brand-Level Margin Data: Extending PCAIDS with Nests” (with Roy
      Epstein), Advances in Economic Analysis & Policy: Vol. 4: No. 1, Article 2, Berkeley Electronic
      Press, March 2004.

64.   “Exclusion or Efficient Pricing? The “Big Deal” Bundling of Academic Journals” (with Aaron S.
      Edlin), Antitrust Law Journal, Volume 72, No. 1, August 2004, pp. 128-159.

65.   “Federalism and the Democratic Transition: Lessons from South Africa” (with Robert P. Inman),
      American Economic Review, Vol. 95, No. 2, May 2005, pp. 39-43, reprinted in ECONOMIC
      APPROACHES TO LAW: DESIGN OF CONSTITUTIONS, Richard Posner and Franceco Parisi, (eds.).

66.   “The Bundling of Academic Journals” (with Aaron S. Edlin), American Economic Review, Vol. 95,
      No. 2, May 2005, pp. 441-446.

67.   “Academic Journal Pricing and the Demand of Libraries” (with Aviv Nevo and Mark McCabe),
      American Economic Review, Vol. 95, No. 2, May 2005, pp. 447-452.

68.   “A Damage-Revelation Rationale for Coupon Remedies (with A. Mitchell Polinsky), Journal of Law,
      Economics & Organization, Vol. 23, No. 3, October 2007, pp. 653-661.

69.   “The Deadweight Loss of Coupon Remedies for Price Overcharges” (with A. Mitchell Polinsky),
      Journal of Industrial Economics, Vol. LVI, No. 2, June 2008, pp. 402-417.

70.   “Econometric Issues in Antitrust Analysis,” Journal of Institutional and Theoretical Economics, Vol.
      166(1), 2010, pp. 62-77.

71.   “Understanding UPP” (with Roy J. Epstein), B.E. Journal of Theoretical Economics: Policies and
      Perspectives,” Vol. 10, Issue 1, 2010, Article 21.

72.   “Online Advertising: Defining Relevant Markets” (with James Ratliff), Journal of Competition Law
      and Economics, September, 2010, 6(3), pp. 653-686.

73.   “On the Pretrial Use of Economists,” The Antitrust Bulletin, Vol. 55, No. 3, Fall 2010, pp. 679-687.

74.   “Federal Institutions and the Democratic Transition: Learning from South Africa, Journal of Law,
       Economics, and Institutions, Vol. 28, Issue 4, October, 2012, pp. 783-817.

75.   “Would the Per Se Illegal Treatment of Reverse Payment Settlements Inhibit Generic Drug
       Investment?” (with Bret M. Dickey), Journal of Competition Law and Economics, Vol.8, No. 3,
       2012, pp. 615-625.

76.   “The Use and Threat of Injunctions in the RAND Context,” (With James Ratliff), Journal of
       Competition Law and Economics, March 2013, 9(1), 1-22.

77.   “Understanding the Democratic Transition in South Africa,” (with Robert Inman), American Law and
       Economics Review, January 2013, 2-23.

78.   “Airline Network Effects and Consumer Welfare,” (with Mark Israel, Bryan Keating, and Bobby
      Willig,” Review of Network Economics, November 2013, 1-36.


                                                 - Page 9 -
      Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 23 of 30




79.   “Measuring Benchmark Damages in Antitrust,” (with Justin McCrary), Journal of Econometric
       Methods, Vol. 3, January 2014, 63-74.

80.   “Is There a Market for Organic Search Engine Results and Can Their Manipulation Give Rise to
       Antitrust Liability” (with James Ratliff), Journal of Competition Law and Economics, 10(3),
       September, 2014, 517-541.

81.   “The Hidden Costs of Free Goods: Implications for Antitrust Enforcement,” (with Michal Gal),
       Antitrust Law Journal, Volume 80, Issue 3, 2016, 521-562.

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                                                - Page 16 -
      Case 2:13-cv-20000-RDP Document 2610-10 Filed 10/30/20 Page 30 of 30




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                                              - Page 17 -
